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 6

 7
                                 UNITED STATES DISTRICT COURT
 8                              EASTERN DISTRICT OF CALIFORNIA

 9

10    RAMON O. RIVERA,                               Case No. 1:19-cv-01609-AWI-EPG

11                       Plaintiff,                  NOTICE OF SETTLEMENT

12           v.

13    EDUCATIONAL CREDIT
      MANAGEMENT CORPORATION,
14
                         Defendant.
15

16
            PLEASE TAKE NOTICE RAMON O. RIVERA (“Plaintiff”), hereby notifies the Court
17
     that the Plaintiff and Defendant, have settled all claims between them in this matter and are in the
18

19   process of completing the final closing documents and filing the dismissal. The Parties anticipate

20   this process to take no more than 60 days and request that the Court retain jurisdiction for any
21   matters related to completing and/or enforcing the settlement. The Parties propose to file a
22
     stipulated dismissal with prejudice with 60 days of submission of this Notice of Settlement and
23
     pray the Court to stay all proceedings until that time.
24
     Respectfully submitted this 1st day of December, 2020.
25

26                                                                /s/ Eric D. Coleman
                                                                  Eric E. Coleman
27                                                                Admitted Pro Hac Vice
                                                                  Sulaiman Law Group, Ltd.
28                                                                2500 S. Highland Avenue,
                                                        1
     Case 1:19-cv-01609-AWI-EPG Document 23 Filed 12/01/20 Page 2 of 2


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 5
                                       CERTIFICATE OF SERVICE
 6

 7             I hereby certify that I today caused a copy of the foregoing document to be electronically

 8   filed with the Clerk of Court using the CM/ECF system, which will be sent to all attorneys of

 9   record.
10

11                                                          /s/ Eric D. Coleman
                                                            Alejandro E. Figueroa
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